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                          UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA

IN RE:        KATRINA CANAL BREACHES                            CIVIL ACTION
              CONSOLIDATED LITIGATION
                                                                 NO. 05-4182

                                                                 SECTION “K” (2)

FILED IN:     05-4181, 05-4182, 05-4191, 05-4568, 05-5237,
              05-6073, -5-6314, 05-6324, 05-6327, 05-6359,
              06-0020, 06-1885, 06-0225, 06-0886, 06-11028,
              06-2278, 06-2287, 06-2346, 06-2545, 06-3529,
              06-4065, 06-4389, 06-4634, 06-4931, 06-5032,
              06-5042, 06-5159, 06-5163, 06-5367, 06-5471,
              06-5771, 06-5786, 06-5937, 06-7682, 07-0206,
              07-0647, 07-0993, 07-1284, 07-1286, 07-1288,
              and 07-1289.


                                          ORDER

       Upon consideration of the Ex Parte Motion of the LEVEE PSLC for leave to file its

Reply Brief and good cause appearing:

       IT IS HEREBY ORDERED that the Motion for Leave to File Excess Pages is

GRANTED, and that the proposed pleading be entered into the record.



                                    UNITED STATES DISTRICT COURT JUDGE



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